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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND

                                       :
UNITED STATES OF AMERICA
                                       :

     v.                                :   Criminal No. PX 15-0228-009

                                       :
DERRICK KWAN BYAS, JR.
                                       :

                       MEMORANDUM OPINION AND ORDER

     Before the court is a letter filed by defendant Derrick

Kwan Byas, Jr., a federal prisoner (ECF No. 379).                  He requests a

recommendation to the Bureau of Prisons that he serve as much

time as possible in a residential re-entry center under the

Second Chance Act.

     He     supports    his   request      by   stating      that     since      his

imprisonment he has completed and taught educational courses at

FCI’s Cumberland Satellite Camp and enrolled in Ashworth College

Associates in a business management program.                     He is currently

scheduled    to   graduate    from   Cumberland     FCI’s    residential        drug

abuse program on August 7, 2017.           Upon his release, he wishes to

“relocate and start anew.”           He asks the court to recommend to

the Bureau of Prisons the maximum placement under the Second

Chance Act to allow him adequate time to find employment and

make a successful transition to society.              The Second Chance Act

provides, in relevant part, that:

            The Director of the Bureau of Prisons shall,
            to the extent practicable, ensure that a
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               prisoner serving a term of imprisonment
               spends a portion of the final months of that
               term (not to exceed 12 months), under
               conditions that will afford that prisoner a
               reasonable opportunity to adjust to and
               prepare for the reentry of that prisoner
               into the community.     Such conditions may
               include a community correctional facility.

18 U.S.C. § 3624(c)(1).            Thus, it “grants expanded authority to

the Bureau of Prisons regarding half-way house service, but does

not vest the authority in [a district] court.”                       United States v.

Squire, Cr. No. 3:09-502-JFA, at *1 (D.S.C. Sept. 5, 2012).

        Accordingly, it is this 23rd day of May, 2017, by the United

States       District   Court     for   the       District    of   Maryland,       ORDERED

that:

        1.     Mr. Byas’ letter (ECF No. 379) BE, and the same hereby

IS, DENIED; and

        2.     The   clerk   is    directed        to    transmit        this   Memorandum

Opinion and Order to counsel for the government and directly to

Mr. Byas.

                                                        /s/
                                                   PAULA XINIS
                                                   United States District Judge




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